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Defendani:s
IN THE WNITED STATES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALIFORNIA

ALIFORNIA
DEPUTY

CROSRY WILFREDO
ORANTES-HERNANDEZ, et al.,

  

WESTERN DIVISION

Plaintifis,
Vv. No. CV €2-1107KN

JOHN ASHCROFT, Attorne,; General of
the United Stater, et al., .

Defendanta.

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JTIPULATION AND ORDER
Plaintiffa snd Defendants, through undersigned counsel,
hereby submit this stipulation and ordaxy regarding this Court's

permanent injunction 11 Orantes-Hermandez v, Meese, 685 F. Supp.

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1ag8 (C.D, Cal. 1988), later superceded by a July 2, 1991
modified injunction in dnantes-Herngndez v. Thornbuzah, No. cV
82-1107 Kn, in order tc address some changes in circumstances
that have occurred since entry of this injunction.

WHEREAS, this Court prohibited the Immigration and
Naturalization Service (“INS”) from transferring "detained class
members who are warepresented by counsel from the district of
their apprehension for at least (7) days to afford class members
the opportunity ts obtein counsel."

WHEREAS , this injunction was entered because the Court found
that INS coerced and er couraged Salvadorans to accept voluntary
departure and not to apply for asylum by advising them that they
will be d@tained durinc’ the pendency of immigration proceedings
and by threatening to transfer them to remote locations for
detention,

WHEREAS, the Depay'‘tment of Health and Human Services’ Office
of Refuges Resettlement ("ORR") doas not engage in the
apprehension oy remova. of aliens.

WHERBAS, ORR is responsible for the care of unaccompanied
alien minors while the; remain in faderal custody.

WHEREAS, ORR has no role whatsoever regarding whether an
alien applies for voluutary departure, asylum, or any other
relief or protection wider the Immigration and Nationality Act.

WHEREAS , ORR must ba able to place ‘unaccompanied minor

aliens, including Salvedorans, in appropriate living gituations.
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WHEREAS, approprietdé living situations may not be available

in the district where the unaccompanied minor alien is
apprehended.

NOW, THEREFORE, the parties agree that the injunction was
not intended to prohibit ORR from traneferring 4 class member who
ig an unaccompanied mizor to a suitable youth facility or foster
care home outside of the district of apprehension within 7 days
ef appreheneion, where (1) release of the minor has first been
considered as a preferible alternative to custody but found.
unwarranted, (2) there is no facility appropriate for the custody
of the minor in the dintrict, or no space available at any such
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facility in the district of apprehension, and (3) transfer is to
rhe nearest appropriate facility outside the district where space
is available.

For Plaintiffs: For Defendants:

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ORDER
IT IS SO ORDERED,
DATED: September 27), 2004
CONSUEL( B. MARSHALL

U.S. District Court Juage

 
